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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

      v.                                               3:95-cr-0232
ANTHONY DEVIVO,

                                    Defendant.

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THOMAS J. McAVOY
Senior United States District Judge

                                     DECISION and ORDER

          Defendant seeks to lift the federal detainer lodged against him in September 2000.

Defendant contends that the detainer is illegal because he already served the maximum

allowable period of federal supervised release.

          The Court finds no basis upon which to believe that the federal detainer is illegal.

Defendant commenced a four year term of supervised release on or about June 17, 1997.

Approximately five months into his term of supervised release, Defendant was arrested for

violating the conditions of his New York State parole. While Defendant was incarcerated on

this violation, his term of federal supervised release was stayed. 18 U.S.C. § 3624(e) (“A

term of supervised release does not run during any period in which the person is imprisoned

in connection with a conviction for a Federal, State, or local crime. . . .”).

          Defendant was released from state custody on or about May 26, 1998, at which

time his term of supervised release began to run again. On July 28, 1998, Defendant was

arrested on charges of burglary, criminal trespassing, and criminal mischief. Defendant was

convicted of burglary, perjury, and criminal mischief, and, in June 1999, sentenced to time in
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prison. Again, because Defendant was imprisoned, the clock on his federal supervised

release was stayed.

          As a result of this criminal conviction, in September 2000, a violation petition was

filed with the Court. At that time, Defendant’s term of supervised release had not been

completed. This Court issued an arrest warrant, which warrant was lodged as a detainer with

the New York State Department of Corrections. Because Defendant is believed to have

violated the terms and conditions of his supervised release while still under supervised

release (by committing a crime), the warrant and detainer filed with the New York State

Department of Corrections is proper.

          To the extent Defendant claims that he has already served the maximum amount of

time allowable for any violation of the terms and conditions of his federal supervised release,

the Court disagrees. In determining the penalty for a violation of supervised release, the

Court is not required to credit Defendant with time served in incarceration for the underlying

offense or for any state offenses. See U.S.S.G. § 7B1.3(f); 90 Fed. Proc. § 22:2062. The

fact that Defendant’s prior federal sentence may have run concurrently to his state sentence

is irrelevant to the running (or staying) of his supervised release while he is incarcerated.

          For the foregoing reasons, Defendant’s motion is DENIED.

IT IS SO ORDERED.

Dated:May 15, 2007




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